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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )
                                                      )      Crim. No. 19-10141-LTS
SHELLEY M. RICHMOND JOSEPH,                           )
                                                      )
                       Defendant.                     )


         UNITED STATES’ OPPOSITION TO MOTION FOR LEAVE TO FILE
                   AMICUS CURIAE BRIEF SUBMITTED BY
           THE AD HOC COMMITTEE FOR JUDICIAL INDEPENDENCE

       The United States respectfully opposes the motion by the Ad Hoc Committee for Judicial

Independence (the “Committee”) for leave to file an amicus brief in support of defendant Shelley

Joseph’s motion to dismiss the Indictment for failure to state an offense under Fed. R. Crim. P.

12(b)(3)(B)(v). See Doc. No. 77.

                                          ARGUMENT

       In deciding Judge Joseph’s motion to dismiss, the sole issue for the Court is whether the

allegations in the Indictment, which must be taken as true, are sufficient to apprise the Defendant

of the charged offenses. See United States v. Brissette, 919 F.3d 670, 675 (1st Cir. 2019); United

States v. Stewart, 744 F.3d 17, 21 (1st Cir. 2014).

       Two capable law firms representing Judge Joseph have submitted an exhaustive 31-page

brief raising numerous legal arguments in support of their client’s motion, including that she has

judicial immunity; that she did not act “corruptly” to impede a “proceeding”; that her prosecution

violates the Tenth Amendment; and that the obstruction statutes are unconstitutionally vague as

applied. See Doc. No. 60. Judge Joseph’s counsel have not claimed that they have been
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prevented from, or otherwise been unable to make, all relevant legal arguments in support of

dismissal.

        The Committee’s proposed brief merely echoes the judicial immunity argument already

fully developed in Judge Joseph’s brief. Judge Joseph argues that she has immunity against

criminal prosecution for taking an action that she describes as an exercise of “courtroom

management.” See Doc. No. 60 at 8, 9, 21. The Committee’s proposed brief makes the same

argument. See Doc. No. 77 at 2 (describing the charged conduct as Judge Joseph just

“mismanaging the physical movements of a criminal defendant,” which the Committee describes

as a “[m]atter of courtroom governance” and the “exercise of court control over the courtroom

and courthouse premises”); id. at 3 (discussing “the judiciary’s power to control courtrooms and

courthouses”); id. at 5 (“a judge’s broad discretion to manage her courtroom”); id. at 7 & 8

(“control of the courtroom environment”); id. at 9 (“managing her courtroom”); id. at 10

(“matters of courtroom governance”); id. at 11(“the judiciary retains full authority to manage the

physical movements of a party targeted for arrest”); id. at 12 (“[j]udges are invested with the

power to control their courthouses and courts”).

        The Court should deny a motion for leave to file an amicus brief filed by any third party

whose proposed filing merely echoes a legal argument already fully briefed by the parties in the

case.

                                         CONCLUSION

        Because the Committee’s brief offers nothing new to assist the Court, the Court should

deny its motion for leave to file.




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                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney


                                         By: /s/ Christine Wichers
                                             DUSTIN CHAO
                                             CHRISTINE WICHERS
                                             Assistant U.S. Attorneys




                                      Certificate of Service

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) on September 16,
2019.

                                              /s/ Christine Wichers
                                              Christine Wichers




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